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(Attorney for Defendant, Christopher J. Durkin, in his official capacity Essex County
Clerk)

                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY
                                   (NEWARK)

                                   Civil Action No. 2:20-cv-08336-SW-LDW


Eugene Mazo                            :
                                       :
                      Plaintiff,       :              Civil Action
vs.                                    :
                                       :      NOTICE OF APPEARANCE
CHRISTOPHER J. DURKIN, in              :
His official capacity as Essex County  :
Clerk, E. JUNIOR MALDONADO, in         :
His official capacity as Hudson County :
Clerk, JOANNE RAJOPPI, in her official :
Capacity as Union County Clerk .       :
TAHESHA WAY, in her official capacity :
As New Jersey Secretary of State       :
                                       :
                      Defendants.      :


      Kindly enter my appearance as counsel for the defendant, Christopher J. Durkin,

in his official capacity as Essex County Clerk, in the above captioned matter.


                                                ESSEX COUNTY COUNSEL’S OFFICE


                                                BY: s/Alan Ruddy_______________
                                                     Alan Ruddy
                                                    Assistant County Counsel

 Dated: October 5, 2020
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                              CERTIFICATION OF SERVICE


       I hereby certify that a copy of the within Notice of Appearance has been served

via electronic filing on the date set forth below to the following:



              All Counsel of Record



                                                   ESSEX COUNTY COUNSEL’S OFFICE


                                                   BY: s/Alan Ruddy_______________
                                                        Alan Ruddy
                                                       Assistant County Counsel

 Dated: October 5, 2020
